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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 22-20609-Civ-SCOLA

 MICHEL KUMBAZ KILZI,

          Plaintiff,
 v.

 ALL SMOOTH LAWN MAINTENANCE &
  LANDSCAPING, INC., a Florida profit
 corporation D/B/A ALL SMOOTH LAWN MAINTENANCE
  & LANDSCAPING, and ISMAEL GARCIA, individually,

        Defendants.
 _________________________________________/

            PLAINTIFF’S MOTION FOR DEFAULT AGAINST DEFENDANTS

 Plaintiff, MICHAEL KUMBAZ KILZI, by and through undersigned counsel, pursuant to Federal

 Rules of Civil Procedure 55 and 12(a)(4)(A) moves for entry of a default by clerk against

 Defendants, ALL SMOOTH LAWN MAINTENANCE & LANDSCAPING, INC., D/B/A ALL

 SMOOTH LAWN MAINTENANCE & LANDSCAPING a Florida Profit Corporation, and

 ISMAEL GARCIA, for failure to timely serve an answer in the above-styled cause of action.

 Defendants were served on March 1, 2022 (ECF Nos. 5 and 6). Undersigned counsel certifies that

 as of the date of this filing, no paper or answer or other pleading has been served upon Plaintiff or

 Plaintiff’s counsel on behalf of the Defendants.

 Dated: March 23, 2022                                  PEREGONZA THE ATTORNEYS, PLLC
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                                                        Suite 302
                                                        Doral, FL 33172
                                                        Tel. (786) 650-0202
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                                                        By: /s/Nathaly Saavedra
                                                        Nathaly Saavedra, Esq.
                                                        Fla. Bar No. 118315
                                                        Email: nathaly@peregonza.com




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 23, 2022, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on all counsel of record or pro se parties identified on the attached Service

 List in the manner specified, either via transmission of Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

 to receive electronically Notices of Electronic Filing.


                                                           /s/Nathaly Saavedra
                                                           Nathaly Saavedra, Esq.




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                                   SERVICE LIST
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 22-20609-Civ-SCOLA



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 Attorney for Plaintiff



 All Smooth Lawn Maintenance & Landscaping, Inc.,
 c/o Ismael Garcia Sr., Registered agent
 15890 SW 200 St.
 Miami FL 33187

 Defendant

 Served via U.S. Mail


 Ismael Garcia Sr.,
 15890 SW 200 St.
 Miami FL 33187

 Defendant

 Served via U.S. Mail




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